            Case 4:20-cv-05099-JTR                  ECF No. 18        filed 05/12/21       PageID.778 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                  for thH_                                      U.S. DISTRICT COURT
                                                                                                          EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
      TERESITA T., on behalf of A.V., a minor child,                                                          May 12, 2021
                                                                                                               SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 4:20-CV-5099-JTR
                                                                     )
  ANDREW M. SAUL, COMMISSIONER OF SOCIAL
                SECURITY,                                            )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Defendant’s Motion for Summary Judgment, ECF No. 15, is GRANTED. Plaintiff’s Motion for Summary Judgment,
u
              ECF No. 14, is DENIED.
              Judgment is entered in favor of Defendant.



This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                         John T. Rodgers                                     on a motion for




Date: May 12, 2021                                                         CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Pam Howard
                                                                                           %\ Deputy Clerk

                                                                            Pam Howard
